                             UNITED STATES DISTRICT COURT
                                  OF MASSACHUSETTS

DEREK MORTLAND,                               )       CASE NO.: 1:23-CV-11705
                                              )
               Plaintiff,                     )       JUDGE ANGEL KELLEY
                                              )
       vs.                                    )
                                              )
                                              )
75 STATE OWNER, LLC,                          )       STIPULATION TO DISMISS
                                              )       PLAINTIFF’S COMPLAINT WITH
               Defendant.                     )       PREJUDICE AND WITHOUT
                                              )       ATTORNEYS’ FEES OR COSTS

       Plaintiff and Defendant through their respective attorneys, stipulate and agree to a

dismissal of Plaintiff’s Complaint as to Defendant with prejudice and with each party to bear

their own attorneys’ fees and costs. The parties further stipulate and agree that entry of this Order

will resolve all pending claims against Defendant and close this matter.



                                      STIPULATED AND AGREED TO BY:


                                      /s/ COLIN G. MEEKER
                                      COLIN G. MEEKER

                                      Attorney for Plaintiff Derek Mortland,


                                      /s/ MATTHEW P. HORVITZ
                                      MATTHEW P. HORVITZ

                                      Attorney for Defendant 75 State Owner, LLC,
                             UNITED STATES DISTRICT COURT
                                  OF MASSACHUSETTS

DEREK MORTLAND,                              )       CASE NO.: 1:23-CV-11705
                                             )
               Plaintiff,                    )       JUDGE ANGEL KELLEY
                                             )
       vs.                                   )
                                             )
                                             )
75 STATE OWNER, LLC,                         )       ORDER DISMISSING PLAINTIFF’S
                                             )       COMPLAINT WITH PREJUDICE AND
               Defendant.                    )       WITHOUT ATTORNEYS’ FEES OR
                                             )       COSTS

       IT IS HEREBY ORDERED that Plaintiff’s Complaint against Defendant is dismissed

with prejudice, and Plaintiff and Defendant bear their own attorneys' fees and costs. Entry of this

order resolves all pending claims and dismisses Defendant from this matter and closes this case.

       IT IS SO ORDERED.



Date: ______________________                         ____________________________________
                                                     JUDGE ANGEL KELLEY
